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5
                             IN THE UNITED STATES DISTRICT COURT
6
                                   FOR THE DISTRICT OF ARIZONA
7
        WORLD NUTRITION, INC., an Arizona                 Case No.:
8       corporation,
9                             Plaintiff,
        v.                                                COMPLAINT
10
        ADVANCED ENZYMES USA, a California
11      corporation, dba SPECIALTY ENZYMES &
        BIOTECHNOLOGIES CO., SPECIALTY
12      ENZYMES & PROBIOTICS, and AST
        ENZYMES; ABC CORPORATIONS I-X;
13
        XYZ PARTNERSHIPS I-X; JOHN DOES I-
        X and JANE DOES I-X, husbands and wives,
14
        respectively,
15                            Defendants.

16
             World Nutrition, Inc., an Arizona corporation, through its counsel undersigned, for its
17
     Complaint, alleges as follows:
18
             1.       World Nutrition, Inc. (“WNI”) is an Arizona corporation, authorized to do and
19
     doing business in Arizona.
20
             2.       Defendant Advanced Enzymes USA (“AE”) is a California corporation. Upon
21
     information and belief, AE does business as Specialty Enzymes & Biotechnologies Co. (“SEB”),
22
     Specialty Enzymes & Probiotics (“SEP”), and AST Enzymes (“AST”). AE may have other
23
     business names, tradenames or DBAs that are currently unknown to WNI.
24

25




                                                     1
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1           3.       ABC Corporations I-X, XYZ Partnerships I-X, John Does I-X and Jane Does I-X

2    are names of fictitious corporations, partnerships and individuals and WNI will request leave of

3    the Court to insert the true and correct names of said corporations, partnerships and individuals

4    when and if they are learned. At all times material hereto, John Does I-X and Jane Does I-X were

5    acting for and on behalf of their respective marital communities. Upon information and belief,

6    ABC Corporations I-X, XYZ Partnerships I-X, John Does I-X and Jane Does I-X ("Fictitious

7    Defendants") have caused an event to occur in Maricopa County, Arizona, out of which this

8    Complaint arises.

9           4.       This court has original jurisdiction of this case pursuant to 28 U.S.C. §1331.

10          5.       This court has original jurisdiction of this case pursuant to 28 U.S.C. § 1332

11   because the amount in controversy exceeds $75,000.00 and involves citizens of different states.

12          6.       Plaintiff requests a jury trial.

13                         Count I: Violation of 15 U.S.C. § 1125 (Lanham Act)

14          7.       WNI is in the business of selling nutraceuticals, including enzyme products. One

15   of its products is Vitalzym, an enteric-coated capsule. WNI sells its products, including Vitalzym,

16   in health-food stores and through the Internet.

17          8.       Upon information and belief, AE is in the business of manufacturing and selling

18   enzyme and probiotic products. Upon information and belief, AE sells its products in health-food

19   stores and through the Internet.

20          9.       WNI and AE are direct competitors, each in the business of selling enzyme

21   products.

22          10.      AE, dba SEP, promotes its products on its website, stating as follows:

23                   Systemic Enzymes
24
                     Specialty Enzymes & Probiotics is the world’s largest manufacturer of
25                   Serrapeptase, one of the most powerful systemic enzymes currently
                     available. We were the first to receive approval for its use in the United



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                   States, and we continue as a leader in the market. Our proven and effective
1                  systemic enzyme blends include Exclyme EN, Serracor and SEBkinase.
2
                   Probiotics
3
                   Specialty Enzymes & Probiotics produces robust and shelf-stable probiotic
4                  blends unrivaled in their ability to withstand harsh environments and remain
                   effective. Our ProbioSEB line is formulated to support a favorable
5                  environment for the growth of “good microflora” in the large intestine.

6                  Sports Nutrition
7                  Athletes and consumers living an active lifestyle recognize the need for
                   protein and nutrition for optimal performance and muscle recovery. But
8
                   they may not realize that the body has difficulty fully digesting these helpful
9
                   products. Specialty Enzymes & Probiotics offers sports nutrition blends
                   formulated to support the complete digestion of protein supplements and
10                 absorption of relevant nutrients.

11                 Cleanse/Candida/Detox

12                 For too many American consumers, the demands of daily life lead to a diet
                   of highly processed foods that the body cannot fully break down.
13                 Undigested food trapped in the digestive tract can lead to a host of health
                   issues and disrupt the absorption of nutrients. The complete digestive
14
                   cleanses formulated by Specialty Enzymes & Probiotics, ClenzSEB and
15
                   ClenzSEB PB, are designed to hydrolyze and remove food trapped in the
                   intestine and support the body’s natural balance.
16
            11.    SEP claims that it is the world’s largest manufacturer of Serrapeptase.
17
            12.    AE, dba SEB, claims to be a worldwide leader in the production of enzymes. Upon
18
     information and belief, AE owns the rights to SEB, SEP and AST and the websites:
19
     http://www.specialtyenzymes.com and http://www.ASTenzymes.com. AE may be the owner of
20
     other websites that are currently unknown to WNI.
21

22          13.    AE, dba AST, promotes its products on its website, stating: “AST Enzymes is a

23   leading enzyme manufacturer providing healthcare professionals and consumers with

24   pharmaceutical-grade enzyme supplements for cardiovascular, anti-inflammatory, joint, digestive

25   and colon health.”



                                                      3
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             14.        AST sells Systemic Enzyme products: Serracor–NK, Excellacor, Serrapeptase and
1
     Ultimate Metabolic Formula (the “AST Products”). AST advertises that all of the AST Products
2

3    contain enteric coated Serrapeptase. The labels for all of the AST Products state they contain

4    enteric-coated Serrapeptase.

5            15.        AST states that enteric coating is necessary and critical for any of its AST Products

6    to be effective.
7                       Enteric coating is a layer of protective coating for dietary supplements that is
                        meant to allow the supplement to bypass digestion by the stomach and be
8
                        absorbed in the small intestine. Systemic enzymes are proteins, so their
9
                        functional structures are denatured (or destroyed) in conditions of extreme
                        pH and temperature. Without enteric coating, enzymes would be rendered
10                      useless long before they reach the bloodstream, where their carry out their
                        beneficial effects.
11
             16.        With respect to Serracor-NK, AST states:
12

13                      Serracor-NK is a powerful blend of enteric-coated serrapeptase and
                        nattokinase, systemic enzyme studied for their fibrinolytic properties.
14
                                              .      .     .
15                      How Enteric Coating Makes Serracor-NK Uniquely Effective

16                      The enteric-coated serrapeptase and nattokinase inside make Serracor-NK a
                        unique blend. Most serrapeptase brands on the market are not enteric coated,
17                      which means they can lose a significant portion of their effectiveness in the
                        acidic environment of the stomach. The enteric coating of our blend allows
18
                        these sensitive enzymes to survive the acidic conditions of the stomach, thus
19
                        allowing them to pass into the circulatory system and maintain high activity
                        levels.
20

21

22

23

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                                                           4
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1           17.     With respect to Excellacor, AST states Excellacor contains “Enteric-coated

2    Serrapeptase (phthalate-free): a powerful fibrinolytic enzyme.”

3                   What Sets Excellacor Apart

4                                              .      .       .
                    Excellacor has an enteric coating that allows the powerful enzyme blend to
5                   bypass the acidic environment of the stomach and reach the small intestine,
                    where absorption occurs. Our enteric-coated serrapeptase has been
6
                    formulated with the use of Methacrylic Acid Copolymer (MAAC), a safe
7                   food-grade compound used in the pharmaceutical industry with no reported
                    side effects. Without enteric coating, enzymes will denature, or lose their
8                   effectiveness, in the stomach.

9
                    Why Choose Excellacor

10                  Excellacor’s unique proprietary formula and efficacy-maximizing enteric
                    coating make it the most potent blend on the market to support normal fibrin
11                  metabolism, metabolic health, and joint, muscle, and tissue health.
12
            18.     With respect to Serrapeptase, AST states: “Our serrapeptase is enterically-coated
13
     to maximize efficacy, allowing the enzymes to survive the acidic conditions of the stomach,
14

15
     leading to greater absorption.”

16                  What’s inside Serrapeptase

17                  Enteric-coated serrapeptase

18                  How Enteric Coating Makes AST Enzymes’ Serrapeptase Uniquely
                    Effective
19
                    Most serrapeptase brands on the market are not enteric coated, which means
20
                    they can lose a significant portion of their effectiveness in the acidic
                    environment of the stomach. The enteric coating of our blend maximizes their
21
                    efficacy by allowing these sensitive enzymes to survive the acidic conditions
22                  of the stomach, allowing them to pass into the circulatory system and
                    maintain high activity levels.
23

24

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                    Why Choose AST Enzymes’ Serrapeptase
1
                    Our Serrapeptase is the most potent on the market with an enteric coating,
2
                    and is specially formulated to maximize its effectiveness. ISO 9001:2000 and
                    GMP certified facilities, and undergo rigorous quality testing.
3
            19.     With respect to Ultimate Metabolic Formula, AST states that it “features enteric-
4
     coated Serrapeptase, a systemic enzyme known for its capacity to support normal fibrin levels and
5
     promote healthy circulation.”
6

7
                    How Enteric Coating Makes Ultimate Metabolic Formula Uniquely
8                   Effective

9                   Without an enteric coating, enzymes can lose a significant portion of their
                    effectiveness in the acidic environment of the stomach. The enteric coating
10                  of our blend protects these sensitive enzymes, allowing them to pass into the
                    bloodstream with maximum potency.
11
                    Why Choose Ultimate Metabolic Formula
12
                    Ultimate Metabolic Formula’s clinically proven, extra-strength blend and
13                  efficacy-maximizing enteric coating give it unrivaled joint support properties.
14          20.     On its website, AST compares Excellacor to Vitalzym, implying that Excellacor is

15   a superior product to Vitalzym because Vitalzym’s formulation has changed. AST states: “If you

16   are deciding between two blends both claiming to be stronger or more technologically advanced,

17   a red flag should be the amount of times the product has changed from the ‘original’ formula.”

18   See attached Exhibit “A”.

19          21.     Upon information and belief, the AST Products do not contain enterically coated

20   Serrapeptase or an enterically coated blend. Upon information and belief, in connection with the

21   sale of the AST products, AE, SEB, SEP and AST are making false and misleading

22   descriptions/statements of fact, or false or misleading representations of fact, i.e. that the AST

23   Products contain enterically coated Serrapeptase or an enterically coated blend. Upon information

24   and belief, these statements are likely to cause confusion, or to cause mistake, by another person,

25




                                                      6
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1    i.e. the buying public, in commercial advertising or promotion of the AST Products. AE, SEB,

2    SEP and AST misrepresent the nature, characteristics and qualities of the AST Products.

3            22.     WNI is likely to be injured by AE’s false advertising. Upon information and belief,

4    AE is directing consumers to the AST Products, and diverting consumers away from WNI and

5    Vitalzym by its false advertising. As a direct and consequential result thereof, WNI has been

6    damaged.

7            WHEREFORE, World Nutrition, Inc., an Arizona corporation, prays for Judgment

8    against Advanced Enzymes USA, a California corporation, dba Specialty Enzymes &

9    Biotechnologies Co., Specialty Enzymes & Probiotics, and AST Enzymes, and Fictitious

10   Defendants, individually and collectively, jointly and severally, as follows:

11           A.      For its damages, in an amount to be proven at time of trial;

12           B.      For treble its damages, in an amount to be proven at time of trial;

13           C.      For Defendants’ profits;

14           D.      For its costs of the action;

15           E.      For its attorneys’ fees; and

16           F.      For such other and further relief as the court deems just and proper.

17                                      Count II: Unfair Competition

18           23.     WNI incorporates and realleges the allegations of paragraphs 1 through 22 above,

19   as if fully set forth herein.

20           24.     As set forth above, AE, SEB, SEP and AST are engaged in false advertising of the

21   AST Products. Upon information and belief, Defendants’ false advertising is contrary to honest

22   business practices in industrial or commercial matters and constitutes false advertising. Upon

23   information and belief, Defendants’ false advertising is deceiving the public.

24           25.     WNI is likely to be injured by AE’s false advertising. Upon information and belief,

25   AE is directing consumers to the AST Products, and diverting consumers away from WNI and



                                                       7
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1    Vitalzym by its false advertising. As a direct and consequential result thereof, WNI has been

2    damaged.

3            26.     Upon information and belief, Defendants’ conduct is driven by an evil mind, is

4    intentional and intended to deceive the public. WNI is entitled to an award of punitive damages.

5            WHEREFORE, World Nutrition, Inc., an Arizona corporation, prays for Judgment

6    against Advanced Enzymes USA, a California corporation, dba Specialty Enzymes &

7    Biotechnologies Co., Specialty Enzymes & Probiotics, and AST Enzymes, and Fictitious

8    Defendants, individually and collectively, jointly and severally, as follows:

9            A.      For its damages, in an amount to be proven at time of trial;

10           B.      For an award of punitive damages, in an amount sufficient to punish and deter

11   Defendants, and others similarly situated;

12           C.      For its costs incurred herein, including post-judgment costs;

13           D.      For such other and further relief as the court deems just and proper.

14                                   Count III: Consumer Fraud

15           27.     WNI incorporates and realleges the allegations of paragraphs 1 through 25 above,

16   as if fully set forth herein.

17           28.     The AE website and the AST Products’ labels are publications and disseminations

18   intended to induce directly or indirectly consumers to purchase the AST Products, and therefore

19   constitute advertisements pursuant to A.R.S. § 44 – 1521(1).

20           29.     The AST Products constitute merchandise pursuant to A.R.S. § 44 – 1521(4).

21           30.     Upon information and belief, AE has used deception, unfair acts or practices and

22   misrepresentations in connection with the sale or advertisement of the AST Products, all of which

23   constitutes an unlawful practice pursuant to A.R.S. § 44 – 1522(A).

24           31.     WNI is likely to be injured by AE’s false advertising. Upon information and belief,

25   AE is directing consumers to the AST Products, and diverting consumers away from WNI and



                                                       8
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1    Vitalzym by its false advertising. As a direct and consequential result thereof, WNI has been

2    damaged.

3           32.     Upon information and belief, AE knew or should have known that its conduct was

4    prohibited, wrongful, false and an unlawful practice.

5           33.     WNI is entitled to an award of its attorneys’ fees and costs pursuant to A.R.S. § 44

6    – 1534.

7           WHEREFORE, World Nutrition, Inc., an Arizona corporation, prays for Judgment

8    against Advanced Enzymes USA, a California corporation, dba Specialty Enzymes &

9    Biotechnologies Co., Specialty Enzymes & Probiotics, and AST Enzymes, and Fictitious

10   Defendants, individually and collectively, jointly and severally, as follows:

11          A.      For its damages, in an amount to be proven at time of trial;

12          B.      For an award of punitive damages, in an amount sufficient to punish and deter

13   Defendants, and others similarly situated;

14          C.      For its costs incurred herein, including post-judgment costs;

15          D.      For such other and further relief as the court deems just and proper.

16          DATED this 16th day of January, 2019.

17                                         McCARTHY HOLTHUS & LEVINE, P.C.

18

19
                                           By:     /s/Paul M. Levine
                                                   Paul M. Levine
20
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21                                                 Scottsdale, Arizona 85258
                                                   Attorneys for Plaintiff
22

23

24

25




                                                      9
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                      Healthy Circulation*
                      Recovery from Muscle Soreness*
                      Joint and Tendon Health*

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                                       Product Info            Supplement Facts           FAQ        Reviews


                     Excellacor- The Total Body Systemic Formula
                     (Exclzyme- Same Exact Formula, New Name!)

                     Excellacor vs Vitalzym**
                     Brand                             Enteric Coated             Serrapeptase Manufacturing   Price
                                                       Serrapeptase               Source
                     Original Vitalzym (2000-2009)     Yes                        India                        $114.00
                     “Original” Vitalzym (Current)     No                         Japan                        $114.00
                     Vitalzym 360 Liquid Capsules      Yes                        Japan                        $149.99
                     (Current)
                     Original Excellacor               Yes                        India                        $99.95

                     If your systemic enzyme supplement has changed, we have the original formula.




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      Some companies claim to continue to carry the original formula. Others claim that because bacterial and fungal source
      enzymes are “plant-based,” or they maintain their effectiveness after exposure to the acidic conditions of the
      stomach. This is simply not true. The most important factor to look at before purchasing a systemic enzyme blend is
      that the serrapeptase, sourced from the bacterium Serratia marcescens and the key ingredient in the original Full-
      Strength Excellacor ® , must be enteric coated so it can pass the acid environment of the stomach without being
      damaged.

      There is an underlying art when it comes to manufacturing enzyme products. Systemic enzyme blends must be
      formulated professionally for maximum effectiveness. In fact, alterations to an already successful systemic enzyme
      product may not provide the same results you have been experiencing from a newly innovated product.

      If you are deciding between two blends both claiming to be stronger or more technologically advanced, a red flag
      should be the amount of times the product has changed from the “original” formula. Many companies, including ours,
      use proprietary formulas to protect their products from being copied and used by others. This is to ensure that the
      purchaser is receiving a blend of enzymes not found elsewhere. All companies must list every ingredient by name
      and rank them according to the percentage amounts found in the formula. For instance, in the original Excellacor
      formula, enteric-coated serrapeptase is listed on our ingredient list as the second most prevalent ingredient in our
      formulation.

      If your “new and improved” systemic formula does not list serrapeptase as the second ingredient nor does it say
      enteric-coated, you are not getting the most out of your systemic enzyme formula. Serrapeptase has always been the
      hallmark of the original Excellacor formula, making it the easiest choice of companies and consumers alike. The
      Original Systemic Enzyme Formula Excellacor, is a proven systemic enzyme therapy for total body health. A powerful
      blend of Serrapeptase, proteases and herbs, Excellacor supports the body’s natural response to inflammation,
      metabolic activity, joints, and circulation.

      The Excellacor formula has been used for more than a decade by thousands of people as a daily dietary supplement.
      AST Enzymes’ family of companies is among the largest manufacturers of enzymes in the world. For decades, we
      have supplied enzymes to marketing companies who have built their businesses on enzyme supplements our experts
      formulated and manufactured. The Excellacor formulation has been commercially available since 1999 and is the most
      successful, non-animal derived, systemic enzyme blend on the market today.

      Everybody Needs a Healthy Body

      Total body support can include a multitude of functions to benefit the body. Specifically, elimination of potentially
      harmful substances from the body is crucial for optimal health. A variety of health issues can develop if unwanted
      substances within the body are impairing the function or availability of enzymes.

      When this occurs, the body does not produce an adequate amount of proteolytic enzymes to attack the large
      accumulation of CIC’s. While enzymes occur naturally, as we age they begin to be produced less and less.
      Supplementing the body with enzymes becomes crucial to prevent further complications. Enzymes serve as catalysts
      that push essential chemical reactions in the body in the right direction. Without proper supplementation, the body will
      lose its internal balance.

      Excellacor for Total Body Support*

      For nearly 20 years, Excellacor has been at the heart of Systemic Enzyme Therapy– the use and supplementation
      of systemic enzymes for optimal cell, tissue, organ and metabolic function. While there are plenty of products on the
      market, Excellacor is the #1, non-animal derived systemic formulation to date. Likewise, companies, health
      practitioners, and consumers have turned to the original Excellacor formulation for their systemic enzyme therapy
      needs.


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      Excellacor has been formulated with an ample supply of various proteases to support the body’s immune system and
      breakdown free-roaming CICs that can keep the body in a constant state of discomfort.* Enteric-coated Serrapeptase
      highlights this powerful blend of proteolytic enzymes with its scientifically proven fibrinolytic power. Excellacor also
      contains papain and bromelain, enzymes known for their potent systemic beneficial properties.

      In addition to these systemic proteases, lipase and amylase are included to offer their own enzyme activity to bolster
      the body with extra catalytic energy.* And for extra synergy, Excellacor is well-rounded with anti-oxidant support in the
      form of Rutin and Amla, herbs well known for their unique bioflavonoid content, especially useful for tissue
      rejuvenation and recovery.* Various proteases in Excellacor help break down proteins and amino acid chains,
      promoting total body support.* This formula supports fatigued muscles and joint function, and promotes fibrin
      metabolism.*   

      Key ingredients in Excellacor:
             Enteric-coated Serrapeptase (phthalate Free)
             Bromelain: derived from pineapple, supports blood circulation by breaking down fibrin.*
             Papain: derived from papaya, supports protein digestion and the body’s natural immune response.*
             Lipase: used systemically, supports the break down fats in circulatory system.*
             Amylase: for added synergistic support; breaks down carbohydrates and starches (found in human tissue) into
             simple sugars*
             Rutin: a bioflavonoid that acts as a repairman supporting circulation.*
             Amla: natural source of Vitamin C, supports regulatory immune responses.*

      This blend also offers its own enzyme activity to bolster the body with extra catalytic energy. Excellacor is rounded
      with anti-oxidant support in the form of herbs known for their unique ability to enhance Vitamins. This anti-oxidant
      support is especially useful for immune health.* Our systemic enzyme blend is manufactured in a ISO 9001:2000 and
      GMP certified facility.

      ** Vitalzym ® is a registered trademark of World Nutrition Inc., which is not affiliated with, nor sponsors or endorses this product
      or any other product from Specialty Enzymes & Biotechnologies or AST Enzymes.
      *These statements have not been evaluated by the Food and Drug Administration. This product is not intended to diagnose,
      treat,cure,or prevent any disease.

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 Buy These Products Together and Save


 Excellacor + Floracor-GI + FREE Digest-GI




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 Buy Excellacor with Floracor-GI to Support Absorption

 Floracor-GI with Excellacor together provide even greater benefits. One of our most popular blends, Floracor-GI is a blend of
 probiotics, prebiotics and powerful enzymes to support gastrointestinal health, microflora balance and immune health.

 Combining Floracor-GI with the powerful systemic enzymes in Excellacor supports systemic enzymes therapy, metabolic
 function, and joint, muscle and tissue health.

 FREE Digest-GI WITH PURCHASE! – A $29.99 Value

 DigeSEB-GI is a broad-spectrum digestive enzyme blend to support digestion of all types of foods.

 1 Excellacor (450 caps.) + 1 Floracor-GI (180 caps.) + 1 Digest-GI (90 caps.)




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